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     Attorneys for Defendant
6    KIEDOCK KIM
7

8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9
                              EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                        CASE NO: 2:10-CR-0255 TLN
11

12
                                                      ORDER RELEASING
                 Plaintiff,                           DEFENDANT’S PASSPORT
13
                  vs.
14

15   FRENCH GULCH NEVADA MINING
     CORPORATION, BULLION RIVER
16   GOLD CORPORATION, PETER
     MARTIN KUHN, and KIEDOCK KIM,
17

18             Defendants.
     _____________________________/
19
           The defendant, KIEDOCK KIM, was released on July 9, 2010, on an
20
     appearance bond secured by $100,000 deposited with the Court. This Court has
21
     since ordered that the $100,000 be released in order to permit the defendant to
22
     satisfy a portion of his restitution obligation. (Dkt #107). His conditions of release
23
     required him to surrender his Canadian passport to the Clerk of the Court. In
24
     compliance with that condition, the defendant surrendered the passport to the
25
     Clerk of the Court. (Dkts #15, #78 and #79).
26
           Defendant was sentenced on February 26, 2015 (Dkt #106) and has since
27
     self-surrendered on April 23, 2015 (Dkt #110).
28
                                                  1
                                 Order Releasing Defendant’s Passport
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1          As a Canadian citizen and a metallurgical engineer by profession, the
2    defendant received formal approval from the Department of Homeland Security to
3    work in the United States as a non-immigrant employee under a TN visa, which
4    permits Canadian citizens of Canada as NAFTA professionals to work in the
5    United States. The TN visa requires that the defendant maintain a current,
6    unexpired passport which he will need when he is released from custody.
7          Because the defendant’s case is terminated and he has commenced
8    service of his sentence, it is requested that the defendant’s passport be returned
9    to his counsel of record.
10

11                                           ORDER
12         GOOD CAUSE APPEARING the Clerk of the Court shall release the
13   defendant’s passport to counsel for the defendant.
14         IT IS SO ORDERED.
15

16   Dated: April 29, 2015
17

18

19                                                Troy L. Nunley
                                                  United States District Judge
20
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28
                                                  2
                                 Order Releasing Defendant’s Passport
